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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,

          Plaintiffs,

 v.                                               Civil Action No. 4:20-cv-00957-SDJ

 GOOGLE LLC,

          Defendant.


                                    JOINT STIPULATION

        The Parties, the Plaintiff States (“States”) and Defendant Google LLC (“Google”)

(collectively, “the Parties”), jointly submit this Stipulation with a proposed order memorializing

this stipulation.

        WHEREAS, on December 1, 2024, Google filed its Motion to Strike Plaintiffs’ Jury

Demand for all Claims and Civil Penalties (ECF No. 690),

        WHEREAS, States’ Response in Opposition to the Motion to Strike Plaintiffs’ Jury

Demand for all Claims and Civil Penalties is otherwise due December 23, 2024 (ECF No. 662);

        WHEREAS, on December 9, 2024, States filed their Motion for Spoliation Sanctions (ECF

No. 693);

        WHEREAS, Google’s Response in Opposition to the Motion for Spoliation Sanctions is

otherwise due December 23, 2024;

        IT IS HEREBY STIPULATED AND AGREED, between the undersigned parties, through

their undersigned counsel:

            1. Google shall respond to Plaintiffs’ Motion for Spoliation Sanctions by January 6,
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               2025. Google’s response shall be no longer than 20 pages.

           2. Plaintiffs shall respond to Google’s Motion to Strike Plaintiffs’ Jury Demand for

               all Claims and Civil Penalties by January 6, 2025.

           3. Google may file a reply in support of its Motion to Strike Plaintiffs’ Jury Demand

               for all Claims and Civil Penalties by January 13, 2025.

           4. Plaintiffs may file a reply in support of their Motion for Spoliation Sanctions by

               January 13, 2025.

           5. All other deadlines in the Court’s scheduling orders should remain effective and

               unmodified.

       The Parties respectfully request that the Court enter the attached proposed order

memorializing this stipulation.

Dated: December 19, 2024                     Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I certify that, on December 18, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                   /s/ Eric Mahr
                                                   Eric Mahr
